           Case 1:17-vv-01920-UNJ Document 65 Filed 09/30/22 Page 1 of 7




               In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                         Filed: August 31, 2022

* * * * * * *                   * *      * *
                                        * *
GORETT PARSLOE                              *             Unpublished
                                            *
                                            *
              Petitioners,                  *             No. 17-1920V
                                            *
v.                                          *             Special Master Gowen
                                            *
SECRETARY OF HEALTH                         *             Decision on Stipulation; Influenza;
AND HUMAN SERVICES,                         *             Shoulder Pain.
                                            *
              Respondent.                   *
* * * * * * * * * * * * *
Leah V. Durant, Law Offices of Leah V. Durant, PLLC, Washington, D.C., for petitioner.
Catherine E. Stolar, U.S. Department of Justice, Washington, D.C., for respondent.

                                     DECISION ON STIPULATION1

      On December 11, 2017, Gorett Parsloe (“petitioner”) filed a petition in the National
Vaccine Injury Compensation Program. 2 Petition (ECF No. 1). Petitioner alleged that she had
shoulder pain, after receiving the influenza (“flu”) vaccination on October 2, 2016. Id. at
Preamble.

        On August 31, 2022, respondent filed a stipulation providing that a decision should be
entered awarding compensation to petitioner. Stipulation (ECF No. 60). Respondent denies that
the flu vaccine is the cause of petitioner’s shoulder pain, brachial neuritis and/or Parsonage-
Turner syndrome. Id. at ¶ 6. Nevertheless, maintaining their respective positions, the parties
now agree that the issues between them shall be settled and that a decision should be entered

1
 Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this opinion contains a
reasoned explanation for the action in this case, I intend to post it on the website of the United States Court of
Federal Claims. The court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. Before the opinion is
posted on the court’s website, each party has 14 days to file a motion requesting redaction “of any information
furnished by that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). An objecting party must provide the court with a proposed
redacted version of the opinion. Id. If neither party files a motion for redaction within 14 days, the opinion will be
posted on the court’s website without any changes. Id.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-10 to 34 (2012)
(hereinafter “Vaccine Act” or “the Act”). Hereinafter, individual section references will be to 42 U.S.C. § 300aa of
the Act.
           Case 1:17-vv-01920-UNJ Document 65 Filed 09/30/22 Page 2 of 7




awarding the compensation according to the terms of the stipulation attached hereto as Appendix
A. Id. at ¶ 7.

        The stipulation provides:

        A) A lump sum of $97,500.00 in the form of a check payable to petitioner. This
           amount represents compensation for all damages that would be available under
           42 U.S.C. § 300aa-15(a).

        Accordingly, the Clerk of the Court SHALL ENTER JUDGMENT in accordance with
the terms of the stipulation and this decision. 3

        IT IS SO ORDERED.

                                                                               s/Thomas L. Gowen
                                                                               Thomas L. Gowen
                                                                               Special Master




3
 Entry of judgment is expedited by each party’s filing notice renouncing the right to seek review. Vaccine Rule
11(a).

                                                        2
Case 1:17-vv-01920-UNJ Document 65 Filed 09/30/22 Page 3 of 7
Case 1:17-vv-01920-UNJ Document 65 Filed 09/30/22 Page 4 of 7
Case 1:17-vv-01920-UNJ Document 65 Filed 09/30/22 Page 5 of 7
Case 1:17-vv-01920-UNJ Document 65 Filed 09/30/22 Page 6 of 7
Case 1:17-vv-01920-UNJ Document 65 Filed 09/30/22 Page 7 of 7
